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Attorneys for Plaintiff X17, Inc.

_ UNITED STATES DISTRICT COURT

CENTRAL DISTRICT
WESTERN DIVISION
X17, INC., a California corporation, Case No. CV 06-7608 VBF (JCx)
Plaintiffs, _
STIPULATION RE AMENDING THE
Vv. SUMMARY JUDGMENT HEARING
AND BRIEFING SCHEDULE
MARIO LAVANDEIRA, dba Perez Hilton
and DOES | through 10, inclusive, PROPOSED] ORDER FILED
ONCURRENTLY HEREWITH]
Defendants. |

 

 

Whereas the parties’ submitted a stipulation asking this Court to move the summary
judgment hearing date to February 11, 2008;

Whereas the Court granted that request but also sua sponte modified the briefing
schedule such that Plaintiff's opposition brief would be due on January 22 and Defendant’s
reply brief would be due on January 29;

Whereas the new schedule would require Plaintiff to prepare its opposition brief
before the parties’ mediation on January 21;

Whereas the new briefing schedule presents conflicts with Plaintiff's counsel’s
schedule, including the filing of a Ninth Circuit brief, board of trustees meetings for a local

university, and an out-of-town trip;

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STIPULATION RE SUMMARY JUDGMENT HEARING DATE AND BRIEFING SCHEDULE

 

 

 
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The parties have therefore agreed that (1) the hearing date for the summary judgment
motion should be moved to February 25, 2008; (2) Plaintiff's opposition should be due
February 5, 2008; and (3) Defendant’s reply brief should be due February 12, 2008.

Dated: January/ J; 2008 TURNER GREEN AFRASIABI & ARLEDGE LLP

» bh hy

Christopher W. Atledge
Attomeys for Plaintiff, X17, Inc.

Dated: January! 5008 DOLL AMIR & ELEY LLP

LLL

Michael M, Amir —
Attorneys for Defendant Mario Lavandeira

 

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STIPULATION RE SUMMARY JUDGMENT HEARING DATE AND BRIEFING SCHEDULE

 

 

 
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CERTIFICATE OF SERVICE

_ Lhereby certify that on January 15, 2008, I caused to be electronically filed
the foregoing STIPULATION RE AMENDING THE SUMMARY JUDGMENT
HEARING AND BRIEFING SCHEDULE with the Clerk of the Court using the .
CM/ECF system which will send notification of such filing to the following:

 

 

 

 

 

 

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Lavandeira, dba Perez Hilton Lavandeira, dba Perez Hilton

 

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Christopher W. Arledge:

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STIPULATION RE SUMMARY JUDGMENT HEARING DATE AND BRIEFING SCHEDULE

 

 

 
